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jamin L. Hatch i .
viet 7575403727 NACGUIREWOODS een te 757 6403907

January 8, 2019

Angela D, Caesar

Clerk of the Court

United States District Court for the District of Columbia
Clerk’s Office, Room 1225

333 Constitution Avenue, N.W,

Washington, DC 20001

Re: Cynthia Warmbier, et al. v. DPRK, Case No. 1:18-CV-00977 (BAH)
Dear Ms, Caesar,

As counsel to Plaintiffs Cynthia Warmbier and Fredrick Warmbier (“Plaintiffs”) in the
above-captioned case, we respectfully request your assistance in serving the Default Judgment
on the Defendant, Democratic People’s Republic of Korea (“DPRK”), as provided in the Foreign
Sovereign Immunities Act (“FSIA”), 28 U.S.C,§ 1608(e).

Plaintiffs will be using DHL Express to mail the service documents to the DPRK, The
address for service is:

Democratic People’s Republic of Korea
c/o Foreign Minister Ri Yong Ho
Ministry of Foreign Affairs
Jungsong-Dong, Central District
Pyongyang, DPRK

Pursuant to 28 U.S.C.§ 1608(a)(3) and the Court’s Attorney Manual For Service of
Process on a Foreign Defendant, { have enclosed one DHL package, with a waybill properly
addressed, enclosing the following items for service on DPRK: 1) one copy of the December 24,
2018 Order granting plaintiffs’ Motion for Default Judgment [ECF No, 24], accompanied by a
translation into Korean, the official language of the DPRK; 2) one copy of the Memorandum
Opinion issued by the Court [ECF No. 25], accompanied by a translation into Korean, the
official language of the DPRK; 3) one copy of the Affidavit Requesting Foreign Mailing; and 4)
one copy of the Notice of Electronic Filing confirming the ECF filing of the Affidavit
Requesting Foreign Mailing. Plaintiffs have also enclosed the indemnity letter required by DHL.

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Los Angeles - Downtown | New York | Norfolk | Pillsburgt | Raletgh | Richmond | San Francisco | Tysons | Washington, D.C, | Wilmington
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Please contact me should you have any questions or if anything further is required. Thank
you for your assistance in this matter.

Sincerely,

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Benjamin L, Hatch

Enclosures

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